   Case 2:23-cv-01017-WSH        Document 48      Filed 06/06/24     Page 1 of 45




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


VERTICAL BRIDGE REIT, LLC; VERTICAL      )          No. 2:23-cv-1017-WSH
BRIDGE NTCF, LLC; VERTICAL BRIDGE        )
DEVELOPMENT, LLC; VERTICAL BRIDGE        )
TOWERS, LLC; ECO-SITE, LLC; VB RUN, LLC; )
CIG COMP TOWER, LLC; VB BTS, LLC;        )
VERTICAL BRIDGE 500, LLC; MIDWEST NT 1 )
LLC; MIDWEST NT 2, LLC; VERTICAL         )
BRIDGE VBTS, LLC; VB BTS II, LLC;        )
VERTICAL BRIDGE S3 ASSETS, LLC; VB-S1 )
ASSETS, LLC; THE TOWERS, LLC; VERTICAL )
BRIDGE CC FM, LLC; VERTICAL BRIDGE       )
CCR, LLC; VB NIMBUS, LLC; VERTICAL       )
BRIDGE CC AM, LLC; VOGUE XIII, LLC;      )
VERTICAL BRIDGE REAL ESTATE, LLC;        )
PRECISION CELL ASSETS, LLC; TORO         )
VERTICAL, LLC; BRIDGER CELL ASSETS,      )
LLC; VBHV, LLC; DATAPATH VERTICAL        )
BRIDGE II, LLC; NTCH-VB, LLC; VERTICAL )
BRIDGE TOWERS IV, LLC; VBT SUB 2, LLC, )
                                         )
             Plaintiffs,                 )
                                         )
                                         )
                                         )          JURY TRIAL DEMANDED
                                         )
             v.                          )
                                         )
EVEREST INFRASTRUCTURE PARTNERS,         )
INC.; EIP HOLDINGS II, LLC,              )
                                         )
             Defendants.                 )


                        SECOND AMENDED COMPLAINT

      Plaintiffs Vertical Bridge REIT, LLC; Vertical Bridge NTCF, LLC; Vertical Bridge

Development, LLC; Vertical Bridge Towers, LLC; Eco-Site, LLC; VB Run, LLC; CIG

Comp Tower, LLC; VB BTS, LLC; Vertical Bridge 500, LLC; Midwest NT 1, LLC; Midwest

NT 2, LLC; Vertical Bridge VBTS, LLC; VB BTS II, LLC; Vertical Bridge S3 Assets, LLC;
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24     Page 2 of 45




VB-S1 Assets, LLC; The Towers, LLC; Vertical Bridge CC FM, LLC; Vertical Bridge CCR,

LLC; VB Nimbus, LLC; Vertical Bridge CC AM, LLC; Vogue XIII, LLC; Vertical Bridge

Real Estate, LLC; Precision Cell Assets, LLC; Toro Vertical, LLC; Bridger Cell Assets, LLC;

VBHV, LLC; Datapath Vertical Bridge II, LLC; NTCH-VB, LLC; Vertical Bridge Towers

IV, LLC; and VBT SUB 2, LLC (collectively, “Vertical Bridge”), by and through their

attorneys, K&L Gates LLP, file this second amended complaint against Defendants Everest

Infrastructure Partners, Inc. and EIP Holdings II, LLC (collectively, “Everest”), stating as

follows:

                                      INTRODUCTION

       1.      This case involves the telecommunications infrastructure industry, referred to

herein as the “cell tower industry” or simply “tower” industry. Plaintiff Vertical Bridge and

Defendant Everest are tower companies, participants in the tower industry, and direct

competitors with one another.

       2.      The case arises out of Everest’s unlawful practice of obtaining through

improper means Vertical Bridge’s valuable, confidential and proprietary financial information

so that it can gain a competitive advantage over Vertical Bridge. This behavior is a violation

of the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq., (“DTSA”), and the Pennsylvania

Uniform Trade Secrets Act, 12 Pa. C.S.A. § 5301, et seq., (“PUTSA”). It also constitutes

tortious interference with contract and unfair competition.

       3.      Tower companies compete with one another for towers and telecom tenants on

those towers. Every tower company’s revenue is a function of how many rent-paying tenants

it has on its towers. The number of rent-paying tenants on a tower company’s towers depends

upon how many towers in advantageous locations the tower company has to offer its telecom




                                               2
   Case 2:23-cv-01017-WSH             Document 48        Filed 06/06/24      Page 3 of 45




tenants. The more towers a tower company has, the larger its market share and the larger its

revenue.

       4.      To acquire additional towers, tower companies must obtain property rights

with respect to those towers. Tower companies typically do not own the real property on

which towers sit, but enter into leases, licenses, or easements with respect to that real

property.

       5.      The financial arrangements between tower companies and their landlords

involve the payment of rent or a license fee by the tower company to the landlord, either on a

monthly or annual basis, typically with periodic increases over time. In some cases, in

addition to rent or a license fee being paid to the landlord, these financial arrangements also

include a share of the revenue that the tower company receives from its telecom tenants being

paid to the landlord. These financial arrangements are collectively referred to as “financial”

information by way of shorthand.

       6.      The financials with respect to any particular piece of real property on which a

tower sits are a function of multiple factors and can vary widely from site to site even within

the same general geographic area. These factors include topography, proximity to other

towers, orientation with respect to residential or commercial areas, proximity to large man-

made or natural structures, FAA regulations, FCC regulations, state and local regulations,

zoning ordinances, local and national real estate market conditions, the types (e.g. radio, tv,

cellular, etc.) and number of telecom tenants who can feasibly operate from the tower, and a

prediction of how the relevant real estate market will develop in the medium and long terms.

       7.      To the best of their ability, tower companies diligently guard the secrecy of the

individual site-to-site financial information for their tower ground leases, the financial




                                                3
   Case 2:23-cv-01017-WSH             Document 48        Filed 06/06/24      Page 4 of 45




information across their national tower portfolio, and the financial models that are used to

develop both individual and portfolio financials. They do so for good reason. If Tower

Company A were to obtain the secret financial information of Tower Company B, Tower

Company A would obtain an enormous advantage in the market at the expense of Tower

Company B, because such knowledge would allow Tower Company A to undercut Tower

Company B’s existing relationships with both ground landlords and telecom tenants and to

unfairly compete in the bidding for new tower acquisitions and tower builds. Tower

Company A would be able to do so without spending any of the time, resources, and

investments Tower Company B spent on originally developing the financial information.

          8.   This type of advantage is exactly what Everest attempts to obtain at Vertical

Bridge’s and other tower companies’ expense. Everest induces Vertical Bridge’s landlords to

improperly disclose Vertical Bridge’s confidential and proprietary ground lease financial

information. Notably, while Everest has feigned disbelief as to the confidential and

proprietary nature of financial information in the tower industry in an attempt to justify its

unlawful actions, Everest’s real-world conduct to prevent disclosure of its own similar

financial information belies its litigation-inspired position; specifically, Everest attempts to

keep secret its own information even as it misappropriates the similar secret information of

others.

                                            PARTIES

          9.   Vertical Bridge NTCF, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.




                                                 4
   Case 2:23-cv-01017-WSH             Document 48      Filed 06/06/24      Page 5 of 45




       10.     Vertical Bridge Development, LLC is a limited liability company formed under

the laws of Delaware with its principal place of business located in Boca Raton, Florida, and

is party to at least the AL-5142 lease (Exhibit F).

       11.     Vertical Bridge Towers, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida, and is

party to at least the GARDI-WS-105608 lease.

       12.     Eco-Site, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida, and is party to at

least the KS-5068 and MO-5167 leases.

       13.     VB Run, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       14.     CIG Comp Tower, LLC is a limited liability company formed under the laws

of Delaware with its principal place of business located in Boca Raton, Florida.

       15.     VB BTS, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       16.     Vertical Bridge 500, LLC is a limited liability company formed under the laws

of Arizona with its principal place of business located in Boca Raton, Florida, and is party to

at least lease TX-5779 (Exhibit H).

       17.     Midwest NT 1, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       18.     Midwest NT 2, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.




                                                5
   Case 2:23-cv-01017-WSH            Document 48       Filed 06/06/24      Page 6 of 45




       19.     Vertical Bridge VBTS, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       20.     VB BTS II, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida, and is party to at

least the Granville West lease.

       21.     Vertical Bridge S3 Assets, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       22.     VB-S1 Assets, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida, and is a party to

at least the IL-5154, WI-5082, and FL-5057 leases.

       23.     The Towers, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       24.     Vertical Bridge CC FM, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       25.     Vertical Bridge CCR, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       26.     VB Nimbus, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       27.     Vertical Bridge CC AM, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       28.     Vogue XIII, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.




                                               6
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24      Page 7 of 45




       29.     Vertical Bridge Real Estate, LLC is a limited liability company formed under

the laws of Delaware with its principal place of business located in Boca Raton, Florida.

       30.     Precision Cell Assets, LLC is a limited liability company formed under the

laws of Delaware with its principal place of business located in Boca Raton, Florida.

       31.     Toro Vertical, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       32.     Bridger Cell Assets, LLC is a limited liability company formed under the laws

of Delaware with its principal place of business located in Boca Raton, Florida.

       33.     VBHV, LLC is a limited liability company formed under the laws of

Wisconsin with its principal place of business located in Boca Raton, Florida.

       34.     Datapath Vertical Bridge II, LLC is a limited liability company formed under

the laws of Delaware with its principal place of business located in Boca Raton, Florida.

       35.     NTCH-VB, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       36.     Vertical Bridge Towers IV, LLC is a limited liability company formed under

the laws of Delaware with its principal place of business located in Boca Raton, Florida.

       37.     VBT SUB 2, LLC is a limited liability company formed under the laws of

Delaware with its principal place of business located in Boca Raton, Florida.

       38.     Each of the plaintiff entities are wholly controlled subsidiaries of Vertical

Bridge REIT, LLC, also a limited liability company formed under the laws of Delaware with

its principal place of business located in Boca Raton, Florida.

       39.     Each and every Vertical Bridge entity described in ¶¶ 9–38 above enters into

ground leases of the four types discussed at ¶ 80 below. Each and every entity takes the same




                                                7
   Case 2:23-cv-01017-WSH             Document 48       Filed 06/06/24      Page 8 of 45




steps to protect the confidential, proprietary ground-lease financial information discussed at ¶¶

60–62 below.

       40.     To date, Vertical Bridge is aware of Everest’s unlawful acquisition of

confidential, proprietary financial information found in leases where VB-S1 Assets, LLC,

Vertical Bridge Development, LLC, Vertical Bridge 500, LLC, VB BTS II, LLC, Vertical

Bridge Towers, LLC, and Eco-Site, LLC are the tenants.

       41.     Upon information and belief, for each of the Vertical Bridge entities that are

parties this action, Everest has attempted to obtain and/or is in the process of attempting to

obtain confidential, proprietary ground-lease financial information contained in leases where

that entity is the ground lease tenant.

       42.     Vertical Bridge reserves all rights to revise or supplement the parties included

herein as necessary pursuant to discovery regarding Everest’s scheme and the leases it has

targeted for interference.

       43.     Defendant Everest Infrastructure Partners, Inc. is a corporation formed under

the laws of Delaware with its principal place of business in Pittsburgh, Pennsylvania.

       44.     Defendant EIP Holdings II, LLC, an affiliate of Everest Infrastructure Partners,

Inc., is a limited liability company formed under the laws of Delaware with its principal place

of business in Pittsburgh, Pennsylvania.

                                JURISDICTION AND VENUE

       45.     This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1331 because this action involves claims arising under federal law, and this Court

has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 because




                                                8
   Case 2:23-cv-01017-WSH             Document 48         Filed 06/06/24      Page 9 of 45




those claims form part of the same case or controversy under Article III of the United States

Constitution.

          46.   This Court has personal jurisdiction over Defendants because they have their

principal place of business within this district.

          47.   Although Defendants have targeted Vertical Bridge sites across the country,

venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because Defendants reside in

this district and a substantial part of the events giving rise to this dispute occurred within this

district, including the execution of agreements between Defendants and Vertical Bridge’s

landlords, as well as the initiation and perpetuation of Everest’s scheme against Vertical

Bridge.

                                 FACTUAL ALLEGATIONS

   A. Tower Industry Business

          48.   For all purposes relevant here, national wireless carriers, television stations,

government entities, and radio broadcasting companies (“telecom tenants”) typically

broadcast from telecommunications infrastructure, including telecommunications towers,

building rooftops, small cells, and billboards. By way of shorthand, telecommunications

infrastructure is collectively referred to herein as “towers,” telecommunications infrastructure

companies – such as Vertical Bridge and Everest – are referred to as “tower companies,” and

the industry at large is referred to as the “tower industry.”

          49.   The tower industry is comprised of tower companies that own and operate the

towers on which the telecom tenants have their equipment and from which they broadcast.

          50.   Tower companies sometimes own the land on which their towers sit, and

sometimes have perpetual easements for their towers. More commonly, however, tower




                                                    9
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24      Page 10 of 45




companies execute ground leases or licenses with third-party landlords who own the land on

which the tower sits. For purpose of this complaint, only the ground-lease/license scenario is

relevant. By way of shorthand, ground leases and licenses are collectively referred to as

“ground leases” herein.

          51.   Tower companies compete with each other for towers and telecom tenants.

The more towers they have, the more tenants they have, and the more revenue they have from

tenant rent. This means that tower companies also compete for ground leases. To acquire

additional towers, a tower company must enter into additional ground leases for the right to

operate a tower on a third party’s real property.

          52.   The key metric of a tower company’s profitability is its Tower Cash Flow

(“TCF”). TCF is a function of telecom tenant rent – a tower company’s source of revenue –

minus expenses, the most significant of which (for all sites at issue here) are the costs

associated with ground leases. These costs include the rent or license fee, and, in some cases,

a share of the telecom rent. The TCF also takes into account the costs tower companies have

spent and/or expect to spend in executing and/or acquiring ground leases and installing

towers.

          53.   Based on the direct experience of Vertical Bridge (which has been in the tower

industry for a decade) and on the experience of its employees (some of whom have worked in

the tower industry for three or more decades), it is tower industry practice to maintain the

secrecy of ground lease financial information as much as possible, and to keep such

information from competitors. This is because this information, if it became known to a

competitor, would give that competitor an advantage in the competition for ground leases,

thereby improving the competitor’s TCF at the expense of the TCF of the tower company




                                               10
    Case 2:23-cv-01017-WSH                Document 48           Filed 06/06/24         Page 11 of 45




whose confidential ground-lease financial information had been disclosed.

        54.      American Tower Corporation, the largest tower company in the U.S., has long

claimed that its ground-lease financial information is confidential, proprietary trade secret

information that provides it with a competitive advantage from not being known or readily

ascertainable. See TriStar Investors, Inc. v. American Tower Corp., No. 3:12-cv-0499-M,

2014 WL 1327663, ECF No. 9 (N.D. Tex. Apr. 3, 2014) (wherein American Tower

Corporation alleged that its financial information was proprietary and trade secret-protected).

        55.      Tower companies routinely protect such information by including

confidentiality and non-disclosure provisions in their ground leases, designating offer letters

to landlords as confidential, and redacting all financial information from publicly-recorded

Memorandum of Lease (“MOL”) filings to the fullest extent allowed by law.1

    B. Vertical Bridge’s Business

        56.      Vertical Bridge REIT, LLC, the parent company of the Plaintiff entities, was

founded in 2014. Like other tower companies in the industry, Vertical Bridge owns,

manages, and operates towers, and leases space on those towers to its telecom tenants

(“Tenants”). In many cases – and all relevant cases here – Vertical Bridge has a ground lease

(“Ground Lease” or “Lease”) with a landlord who owns the land under which Vertical

Bridge’s tower sits (the “Landlord”).

        57.      Like other tower companies, TCF is the key metric of Vertical Bridge’s

profitability. Consistent with the practice of other tower companies, Vertical Bridge competes



1
 There are rare instances where a ground lease is publicly available because the landlord is a government entity
and the ground lease is therefore a public contract subject to government disclosure laws, such as the Freedom of
Information Act or state/local equivalents. However, because the financial information for ground leases is site-
specific, occasional disclosures of such leases do not reveal substantial information about the tower company’s
national network or the company’s overall pricing trade secrets. At most, these disclosures reveal a tower
company’s financial information with respect to other government-entity landlords, but not landlords generally.


                                                       11
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24       Page 12 of 45




in the industry for telecom tenants and towers so as to maximize its TCF. This means that

Vertical Bridge must compete with other tower companies for landlords – keeping the towers

it has and acquiring additional towers requires maintaining existing ground leases and

entering into additional ground leases.

       58.     In order to maximize its TCF, Vertical Bridge has spent millions of dollars and

thousands of person-hours developing a proprietary financial model that evaluates the

profitability of existing and potential tower sites individually and in the aggregate on a

national level. The model employs unique, propriety software containing analytic tools and

Vertical Bridge’s proprietary internal data (as well as publicly available data) to generate TCF

scenarios for particular tower sites, for tower sites across specific regions, and for Vertical

Bridge’s national infrastructure portfolio.

       59.     Vertical Bridge uses this model as part of its decision-making process for what

towers to acquire and where, how much to bid for acquisitions, where to build new towers and

on what time frame, and what financial terms to offer Vertical Bridge Tenants and Landlords.

       60.     For every Vertical Bridge Ground Lease – whether it is a new lease

documented on Vertical Bridge’s form in the first instance or an acquired lease for an existing

tower – Vertical Bridge employs its proprietary financial model. For new Leases, Vertical

Bridge uses the model to set the financials. For acquired Leases, Vertical Bridge does not

acquire Leases that are inconsistent with the model.

       61.     The financial information discussed above includes the following:

               a.      In every Ground Lease, there is a provision that specifies how much

                       rent Vertical Bridge must pay the Landlord or the amount of the license




                                                12
   Case 2:23-cv-01017-WSH           Document 48       Filed 06/06/24       Page 13 of 45




                      fee that Vertical Bridge must pay to the Landlord. Some rental/fee

                      provisions are monthly whereas others are annual.

               b.     In every Ground Lease, there is a provision that specifies by how much

                      the rent or license fee goes up after a certain period of time. These are

                      escalators. By way of example only, and to use simple numbers, rent in

                      a particular Ground Lease could be $800 per month for the first 5 years

                      of the Lease term and then increase by $200, or 25%, for a total of

                      $1000 for the next 5 years, with $200 increases every five years.

               c.     In some but not all Ground Leases, there is a provision that – in

                      addition to rent/fee and any escalators – requires Vertical Bridge to pay

                      the Landlord a share of the rent that Vertical Bridge receives from its

                      telecom tenants that operate their broadcasting equipment from Vertical

                      Bridge’s Tower that sits on the Landlord’s property. The revenue share

                      could appear in the form of a percentage of the telecom tenant’s rent or

                      a flat fee. By way of example only, and using simple numbers, a

                      revenue share provision might entitle a Landlord to 5% of the rent from

                      one telecom tenant and an additional $200 from any new telecom

                      tenants that come onto the tower after the lease is signed.

       62.     The financial information above, Vertical Bridge’s proprietary financial model,

and other similar financial information that can be determined from the Leases are hereinafter

referred to as the “Vertical Bridge Trade Secret Information.”

       63.     As is the case with all tower companies, the financial information in Vertical

Bridge’s Ground Leases is specific to each tower and is determined by – or is at least




                                              13
   Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24       Page 14 of 45




consistent with – the TCF valuation for that tower developed using Vertical Bridge’s propriety

financial model that is discussed at ¶¶ 52, 57–59 above. Towers within a few miles from one

another can, and in many cases do, have widely different financial information in their

Ground Leases.

       64.     Like other tower companies in the tower industry, Vertical Bridge keeps its

Vertical Bridge Trade Secret Information secret as much as possible, and takes all reasonable

measures to prevent disclosure of this information, as follows:

               a.     Vertical Bridge typically does not disclose its Vertical Bridge Trade

                      Secret Information to anyone other than the Landlords to whom this

                      information applies – not even to Vertical Bridge’s own telecom

                      tenants that are operating from the Tower subject to each Ground

                      Lease. Vertical Bridge redacts this information from its Ground Leases

                      before providing a copy of the Leases to telecom tenants as part of

                      Vertical Bridge’s sublease with the telecom tenants. In those rare

                      circumstances where Vertical Bridge does disclose this information

                      with its Tenants, that disclosure is subject to contractual confidentiality

                      requirements;

               b.     Vertical Bridge incorporates confidentiality provisions into Leases that

                      prohibit Landlords from disclosing the financial terms of their Leases to

                      third parties without Vertical Bridge’s permission;

               c.     Vertical Bridge designates offer letters to Landlords as “Privileged and

                      Confidential”; and the confidentiality provision within such offer letters




                                              14
   Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24      Page 15 of 45




                       prevents Landlords from disclosing the offer letter itself, as well as any

                       financial information disclosed in connection with the offer;

               d.      Vertical Bridge takes steps to ensure that all Vertical Bridge Trade

                       Secret Information is specifically redacted in all publicly recorded

                       MOLs to the fullest extent allowed by law.

       65.     Internal measures that Vertical Bridge takes to keep its Vertical Bridge Trade

Secret Information confidential include, but are not limited to:

               a.      Maintaining electronic documentation referring or reflecting its

                       financial information on an internal, password-protected database;

               b.      Closely monitoring Vertical Bridge’s internal database activity to

                       ensure that this financial information is not divulged, shared, or

                       otherwise misappropriated;

               c.      Maintaining physical copies of documentation referring or reflecting

                       this information within a secure room that only limited personnel have

                       access to;

               d.      Prohibiting Vertical Bridge employees from publicly uploading any

                       documentation referring to or reflecting this information;

               e.      Requiring Vertical Bridge employees to sign confidentiality/non-

                       disclosure agreements prior to accessing documentation referring to or

                       reflecting this information;

               f.      Prohibiting Vertical Bridge employees from disclosing or sharing any

                       of this financial information without prior written authorization; and




                                               15
   Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24      Page 16 of 45




               g.      Requiring Vertical Bridge employees to immediately destroy, delete, or

                       return all originals and copies of any documentation referring to or

                       reflecting this information upon termination of the individual’s

                       employment with Vertical Bridge.

       66.     The measures Vertical Bridge takes to keep its pricing terms a secret are

consistent with those taken by most tower companies throughout the industry.

       67.     Vertical Bridge’s form Ground Lease includes a standard confidentiality

provision. This form is used for all new leases that Vertical Bridge enters into.

       68.     As discussed further below, Vertical Bridge also acquires certain Ground

Leases from predecessors-in-interest through purchases and assignments. Vertical Bridge

takes steps to keep the pricing information in those Ground Leases confidential as well, as

discussed in ¶ 110 below.

  C. Tower Aggregation Companies

       69.     Tower aggregators pay landlords up-front lump sums in exchange for obtaining

a ground interest, usually in the form of an easement, and take an assignment of the landlord’s

interest in the corresponding ground lease in order to step into the shoes of the landlord and

receive the tower company’s rent stream, while the landlord retains fee simple in the land.

      70.      The tower aggregator then assumes the landowner’s interest in its ground lease

with the tower company and receives the monthly rent payments that the company would

have made to the landowner. In so doing, the tower aggregator receives a steady stream of

income and the landowner exchanges that rent stream for the aggregator’s one-time up-front

payment.

      71.      Tower aggregators differ from tower companies in that they typically do not




                                               16
    Case 2:23-cv-01017-WSH               Document 48          Filed 06/06/24         Page 17 of 45




own, manage, or operate towers, or have relationships with telecom tenants.

    D. Everest’s Business

       72.       Unlike Vertical Bridge and all other tower companies, Everest’s business

includes both acting as a tower company and engaging in an extreme form of tower

aggregation.

       73.       For example, Everest owns, operates, and purchases towers, and holds itself

out as a tower company, but also approaches landowners with offers to buy the landowners’

revenue stream, as part of its tower aggregation practice.

       74.       Everest has taken the position that none of the ground lease financial

information discussed herein constitutes confidential or trade-secret-protected information,

regardless of whether a ground lease contains confidentiality provisions.

       75.       Even as Everest takes this position with respect to the confidential information

of its competitors, Everest attempts to maintain the secrecy of its own information. Everest

inserts stringent confidentiality provisions in its own ground-lease related documents.

       76.       For example, in Everest’s offer letters sent to Vertical Bridge’s Landlords,

which the Landlords are required to share with Vertical Bridge under the terms of Ground

Leases that contain “right of first refusal” provisions, Everest inserts a provision stating that

each offer “is made on a strictly private and confidential basis” and may not be disclosed

without Everest’s prior written consent. True and correct copies of the Beaver Lake offer

letter and the Auburn Lease offer letter will be attached as Exhibits A–B,2 respectively.

       77.       Everest has engaged and to this day continues to engage in a systematic effort

to obtain Vertical Bridge Trade Secret Information to gain a competitive advantage over and


2
 In connection with Vertical Bridge’s concurrently-filed Motion to File Documents Under Seal, Vertical Bridge
will attach all exhibits identified herein upon an order from the Court granting Vertical Bridge’s Motion.


                                                     17
   Case 2:23-cv-01017-WSH          Document 48           Filed 06/06/24    Page 18 of 45




to inflict competitive harm on Vertical Bridge.

      78.      Specifically, Everest has induced and to this day continues to induce Vertical

Bridge’s Landlords (as well as the landlords of every other major tower company) to share the

valuable, proprietary, and confidential financial information in their Ground Leases with

Everest.

      79.      Everest does this for several purposes:

               a.     The Vertical Bridge Trade Secret Information in Ground Leases – the

                      site-specific monthly rent, escalator amount and timing, and any

                      revenue share – is in large part how participants in the tower industry

                      compete with one another for towers and the real estate interests that

                      underlie those towers. The financial information in Vertical Bridge’s

                      Leases gives Vertical Bridge an advantage over its competitors in the

                      market because it is the product of – or at least consistent with –

                      Vertical Bridge’s propriety model. Despite knowing this information is

                      confidential and proprietary, Everest induces Vertical Bridge’s

                      Landlords to improperly disclose Vertical Bridge’s Ground Leases in

                      order to obtain this economically and competitively valuable

                      information at Vertical Bridge’s expense. Everest is able to use this

                      Vertical Bridge Trade Secret Information without spending any of the

                      initial resources, person-hours, or costs it took for Vertical Bridge to

                      develop the financial information.

               b.     The Vertical Bridge Trade Secret Information in each Ground Lease is

                      not only economically valuable in and of itself, but is also economically




                                              18
      Case 2:23-cv-01017-WSH                Document 48           Filed 06/06/24          Page 19 of 45




                           valuable in the aggregate. The more financial data Everest obtains

                           regarding particular towers, the better Everest understands the pricing

                           on Vertical Bridge’s overall national portfolio and the proprietary

                           model that analyzes and values that portfolio site-to-site and in the

                           aggregate. Everest induces Vertical Bridge’s Landlords to disclose

                           Vertical Bridge’s Ground Leases so that Everest can harvest as much

                           site-specific information as possible and in so doing gain insight into

                           Vertical Bridge’s nationwide site valuation patterns.

                  c.       Everest uses the misappropriated Vertical Bridge Trade Secret

                           Information to, in certain instances, bid for and/or obtain easements and

                           assignments of beneficial rights at Vertical Bridge Tower sites.

     E. The Lease Types

           80.    Each of Vertical Bridge’s Ground Leases with its Landlords fall into four

    separate categories or types:3

                  Type 1: Ground Leases that originated with Vertical Bridge that have always
                  been subject to confidentiality/non-disclosure provisions, including during the
                  negotiation process;

                  Type 2: Ground Leases that were assigned to Vertical Bridge as part of a
                  Tower acquisition and that at all times had confidentiality/non-disclosure
                  provisions included within them;

                  Type 3: Ground Leases that were assigned to Vertical Bridge where originally
                  there was no confidentiality/non-disclosure agreement but, after assignment,
                  Vertical Bridge and the Landlord modified the Ground Lease to reflect the
                  parties’ understanding of their confidentiality/non-disclosure obligations; and

                  Type 4: Ground Leases that were assigned to Vertical Bridge as part of a
                  Tower acquisition that do not contain confidentiality/non-disclosure
                  provisions.

3
 Each Vertical Bridge Plaintiff is a party to each type of lease, each Plaintiff takes the same steps described
herein to maintain the confidentiality of its valuable ground-lease pricing information.


                                                        19
   Case 2:23-cv-01017-WSH             Document 48      Filed 06/06/24      Page 20 of 45




       81.     Upon information and belief, Everest has targeted all four types of Leases.

       82.     Upon information and belief, Everest expressly discourages Landlords from

seeking Vertical Bridge’s consent before disclosing the financial information within the

Ground Leases to Everest and/or represents to the Landlords that Vertical Bridge has no right

to confidentiality with respect to this information, notwithstanding the presence of express

confidentiality/non-disclosure agreements.

                   1. Type 1 Leases: Vertical Bridge Leases

       83.     Every one of these Leases is on a Vertical Bridge form, which contains a

confidentiality provision.

       84.     The Vertical Bridge Trade Secret Information in each of these Leases was

developed using Vertical Bridge’s proprietary pricing model, as described in ¶ 52, 57–59.

       85.     Prior to execution of these Leases, Vertical Bridge designates correspondence

with Landlords in which the Vertical Bridge Trade Secret Information is negotiated as

confidential. Offer letters are designated “privileged and confidential,” and all draft Leases

already contain the confidentiality provision.

       86.     Vertical Bridge also takes the steps to maintain confidentiality of its financial

information as described in ¶¶ 64–67 with respect to each Type 1 Ground Lease.

       87.     Exhibits C–E, respectively, are Type 1 Leases in Everest’s possession that it

improperly and without Vertical Bridge’s knowledge or consent acquired from Vertical

Bridge’s Landlords.

      88.      Everest could not have obtained these Leases absent wrongful

misappropriation of the same.

                                 i.   Pierce Lease



                                                 20
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24      Page 21 of 45




       89.     Exhibit C is an example of a Type 1 Lease that Everest induced Vertical

Bridge’s Landlord to disclose, which Lease includes Vertical Bridge Trade Secret Information

(hereinafter, the “Pierce Lease”).

       90.     Section 3 of the Pierce Lease sets forth the confidential rent amount Vertical

Bridge will pay to the Landlord for use of the Landlord’s property located in Idaho (Site No.

ID-5033), which amount was developed using Vertical Bridge’s proprietary pricing strategy,

described at ¶¶ 52, 57–59. See Ex. C at § 3.

       91.     Section 3 of the Pierce Lease sets forth the confidential rent escalator amount,

i.e., the percentage that rent will increase and the timing of such increase. See Ex. C at § 3.

       92.     The Pierce Lease includes a confidentiality provision which reads, in pertinent

part: “Landlord shall keep the terms of this Agreement confidential, and shall not disclose any

terms contained within this Agreement to any third party other than such terms as are set forth

in the Memorandum of Lease.” See Ex. C at § 31(i). The Memorandum of Lease does not

include the Vertical Bridge Trade Secret Information.

       93.     Upon information and belief, Everest induced Vertical Bridge’s Landlord to

share a copy of the Pierce Lease with Everest to wrongfully gain access to Vertical Bridge

Trade Secret Information.

       94.     Upon information and belief, Everest used Vertical Bridge Trade Secret

Information within the Pierce Lease, including the rent, escalator, and revenue share terms, to

craft an offer to purchase an interest in the site to Vertical Bridge’s Landlord based on

Vertical Bridge’s confidential financial terms.

                            ii. Weis Lease

       95.     Exhibit D is another example of a Type 1 Lease that Everest induced Vertical




                                                  21
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24      Page 22 of 45




Bridge’s Landlord to disclose, which also includes Vertical Bridge Trade Secret Information

(hereinafter, the “Weis Lease”).

       96.     Section 3 of the Weis Lease sets forth the confidential rent amount Vertical

Bridge will pay to the Landlord for use of the Landlord’s property located in Idaho (Site No.

ID-5034), which amount was developed using Vertical Bridge’s proprietary pricing strategy,

described at ¶¶ 52, 57–59. See Ex. D at § 3.

       97.     Section 3 of the Weis Lease sets forth the confidential rent escalator amount,

i.e., the percentage that rent will increase and the timing of such increase. See Ex. D at § 3.

       98.     The Weis Lease includes a confidentiality provision which reads, in pertinent

part: “Landlord shall keep the terms of this Agreement confidential, and shall not disclose any

terms contained within this Agreement to any third party other than such terms as are set forth

in the Memorandum of Lease.” See Ex. D at § 31(i). The Memorandum of Lease does not

include the Vertical Bridge Trade Secret Information.

       99.     Upon information and belief, Everest induced Vertical Bridge’s Landlord to

share a copy of the Weis Lease with Everest to wrongfully gain access to Vertical Bridge

Trade Secret Information.

       100.    Upon information and belief, Everest used Vertical Bridge’s confidential

information within the Weis Lease, including the rent, escalator, and revenue share terms, to

craft an offer to purchase an interest in the site to Vertical Bridge’s Landlord based on

Vertical Bridge Trade Secret Information.

                    iii. Morehead Lease

       101.    Exhibit E is another example of a Type 1 Lease that Everest induced Vertical

Bridge’s Landlord to disclose, which also includes Vertical Bridge Trade Secret Information




                                               22
   Case 2:23-cv-01017-WSH             Document 48       Filed 06/06/24      Page 23 of 45




(hereinafter, the “Morehead Lease”). The Morehead Lease was not disclosed as part of

Everest’s bundle of leases identified in its Motion to Dismiss at ECF No. 20.

       102.    Section 5 of the Morehead Lease sets forth the confidential rent amount

Vertical Bridge will pay to the Landlord for use of the Landlord’s property located in

Morehead, North Carolina (Site No. NC-3015), which amount was developed using Vertical

Bridge’s proprietary pricing strategy, described at ¶¶ 52, 57–59. See Ex. E at § 5.

       103.    Section 5 of the Morehead Lease includes a confidential percentage of the rent

escalator amount escalator amount that Vertical Bridge is required to pay for use of the site.

See Ex. E at § 5.

       104.    Section 5 of the Morehead Lease also includes a confidential revenue share

provision outlining the revenue share amount due for each Tenant that Vertical Bridge allows

to use the Tower. See Ex. E at § 5.

       105.    The Morehead Lease includes a confidentiality provision which reads, in

pertinent part, that, in addition to the Lease itself, neither party may “disclose Confidential

information to any other person or entity . . . except as may be required by law or applicable

judicial process.” See Ex. E at § 26(i). The term “Confidential Information means

information, except as may be in the public domain, about either Party’s . . . purchasing,

accounting, marketing, merchandising, pricing, selling, research and development . . . as

disclosed in connection with this [Lease].” See id.

       106.    Upon information and belief, Everest induced Vertical Bridge’s Landlord to

share a copy of the Morehead Lease with Everest to wrongfully gain access to Vertical Bridge

Trade Secret Information.

       107.    Upon information and belief, Everest used Vertical Bridge’s confidential,




                                                23
   Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24      Page 24 of 45




proprietary financial information within the Morehead Lease, including the rent, escalator, and

revenue share terms, to craft an offer to purchase an interest in the site to Vertical Bridge’s

Landlord based on Vertical Bridge’s confidential financial terms.

                    2. Type 2 Leases: Vertical Bridge’s Acquired Leases with

                       Confidentiality Provisions

       108.    Vertical Bridge regularly purchases or assumes Ground Leases from other

telecommunications infrastructure and/or broadcasting companies, collectively referred to as

its “predecessors,” to acquire the predecessor’s right and interest in Ground Leases with the

Landlords.

       109.    The financial information in each of the predecessor Leases is not generally

known to third parties and is protected from disclosure to third parties through, at least,

confidentiality provisions in the predecessor Leases. Based upon Vertical Bridge’s

understanding of industry practice, Vertical Bridge believes and understand the predecessors

to have taken reasonable measures to safeguard and protect the confidentiality of their

financial information, including the measures described at ¶¶ 60–62.

       110.    In addition, after acquisition, Vertical Bridge takes steps to maintain the

confidentiality of the Vertical Bridge Trade Secret Information in the predecessor Leases

(Types 2–4), including:

               a.      Redacting pricing terms from most underlying Leases prior to

                       providing the Leases to Vertical Bridge’s Tenants located on the

                       corresponding sites; and

               b.      Taking steps to ensure that all Vertical Bridge Trade Secret Information

                       is specifically redacted in all publicly recorded MOLs to the fullest




                                                24
   Case 2:23-cv-01017-WSH             Document 48       Filed 06/06/24      Page 25 of 45




                       extent allowed by law.

       111.    Exhibit F is a Type 2 Lease in Everest’s possession that it improperly and

without Vertical Bridge’s knowledge or consent acquired from Vertical Bridge’s Landlord.

       112.    Everest could not have obtained the Vertical Bridge Trade Secret Information

in Exhibit F absent wrongful misappropriation of the same.

                                 i.    Auburn Lease

       113.    Exhibit F is an example of a Type 2 Lease that Everest induced Vertical

Bridge’s Landlord to disclose, which also includes Vertical Bridge Trade Secret Information

that Vertical Bridge acquired from its predecessor (hereinafter, the “Auburn Lease”). The

Auburn Lease was not disclosed as part of Everest’s bundle of leases identified in its Motion

to Dismiss at ECF No. 20.

       114.    Section 4 of the Auburn Lease sets forth the confidential rent amount Vertical

Bridge will pay to the Landlord for use of the Landlord’s property located in Lee County,

Alabama (Site No. AL-5142), which amount was developed by Vertical Bridge’s predecessor,

as described in ¶ 108, and is consistent with Vertical Bridge’s proprietary pricing strategy,

described at ¶¶ 52, 57–59. See Ex. F at § 4.

       115.    Section 4 of the Auburn Lease sets forth the confidential rent escalator amount,

i.e., the percentage that rent will increase and the timing of such increase. See Ex. F at § 4.

       116.    The Auburn Lease includes a confidentiality provision which reads, in

pertinent part, that the Lease “and any information exchanged between the Parties regarding

the Agreement are confidential,” and “[n]either Party shall provide copies of [the Lease] or

any other confidential information to any third party, without the prior written consent of the

other Party, as required by law. If disclosure is required by law, prior to disclosure, the Party




                                                25
   Case 2:23-cv-01017-WSH             Document 48       Filed 06/06/24      Page 26 of 45




shall notify the other Party and cooperate to take lawful steps to resist, narrow, or eliminate

the need for that disclosure.” See Ex. F at § 29.

       117.    Using the Vertical Bridge Trade Secret Information contained in the Lease,

Everest crafted an offer to Vertical Bridge’s Landlord to purchase an interest on the site,

which is reflected in Exhibit B.

       118.    As is evident from Everest’s offer letter to the Landlord regarding the Auburn

Lease, Everest relied on and incorporated Vertical Bridge Trade Secret Information in crafting

its offer to the Landlord.

       119.    Specifically, Everest used its knowledge of Vertical Bridge Trade Secret

Information in order to craft an offer to the Landlord to pay rent exceeding three times the

amount of rent Vertical Bridge is currently paying under the Lease. Compare Ex. F at § 4,

with Ex. B at § 2.

       120.    Everest’s offer also includes identical financial information as that contained in

the Auburn Lease, see Ex. F at § 4.

       121.    Everest’s offer even states that the offer “is based on the following terms of the

current lease for the cell tower operated on the Property,” and provides the exact rent amount

and rent escalator in the Auburn Lease. See Ex. B at § 1.

       122.    The financial information contained in Everest’s offer could not have been

known without misappropriation of Vertical Bridge Trade Secret Information.

                     3. Type 3 Leases: Vertical Bridge’s Acquired Leases That Were

                        Amended to Include Confidentiality Provisions

       123.    In instances where Vertical Bridge acquires predecessor Leases that do not

have a confidentiality or non-disclosure provision (described more fully in Section E(4)




                                               26
   Case 2:23-cv-01017-WSH              Document 48       Filed 06/06/24     Page 27 of 45




below), Vertical Bridge, in some instances, requires the Landlord to execute an amendment to

the predecessor Lease to include a confidentiality provision.

           124.   The amendment to the Lease memorializes Vertical Bridge’s and the

Landlord’s understanding that the terms of the Lease, including the Vertical Bridge Trade

Secret Information therein, shall be treated as confidential and not be disclosed to third

parties.

           125.   Oftentimes, the amendment to the Lease also includes new or revised financial

terms, i.e., new rent, escalator, and/or revenue share terms that Vertical Bridge developed

using its proprietary pricing model.

           126.   Upon information and belief, and based on industry practice, both before and

after the amendment the Landlords are aware of and understand that they had an obligation to

keep the pricing terms of the Leases confidential, whether or not the Lease previously

contained a confidentiality provision.

           127.   Additionally, the Landlords receive drafts of the amendment prior to execution,

which all include the confidentiality provision.

           128.   Upon information and belief, Everest has induced Vertical Bridge’s Landlords

to give Everest copies of the Type 3 Leases, which include Vertical Bridge Trade Secret

Information, and Everest further has made representations to the Landlords that they did not

need to obtain Vertical Bridge’s consent to provide the Leases, despite the clear

confidentiality provisions preventing such disclosure.

           129.   Vertical Bridge has not consented to Everest’s acquisition of any of the Type 3

Leases.

           130.   Everest could not have obtained these Leases absent wrongful




                                                 27
   Case 2:23-cv-01017-WSH             Document 48      Filed 06/06/24      Page 28 of 45




misappropriation of the same.

                     4. Type 4 Leases: Vertical Bridge’s Acquired Leases That Do Not

                         Include Confidentiality Provisions

       131.    Not every Lease acquired from Vertical Bridge’s predecessors includes a

confidentiality provision; however, the Vertical Bridge Trade Secret Information in each

Lease is treated as confidential by Vertical Bridge after acquisition.

       132.    Prior to acquisition, Vertical Bridge believes and asserts that, based upon

industry practice, its predecessors took reasonable measures to maintain the secrecy of such

information, including certain measures described at ¶¶ 60–62.

       133.    Based upon industry practice, Vertical Bridge believes and asserts that

Landlords are aware of their obligation to keep the Vertical Bridge Trade Secret Information

confidential, whether or not the Lease contains a confidentiality provision.

       134.    After acquisition, Vertical Bridge engages in measures to maintain the

confidentiality of the proprietary financial information, including the measures set forth in ¶¶

61 and 64–67 above.

       135.    Exhibits G–H are Type 4 Leases in Everest’s possession that it improperly and

without Vertical Bridge’s knowledge or consent acquired from Vertical Bridge’s Landlords.

       136.    Everest could not have obtained these Leases absent wrongful

misappropriation of the same.

                                 i.    Beaver Lake Lease

       137.    Exhibit G is an example of a Type 4 Lease that Everest induced Vertical

Bridge’s Landlord to disclose, which includes Vertical Bridge Trade Secret Information that

Vertical Bridge acquired from its predecessor (hereinafter, the “Beaver Lake Lease”). The




                                               28
   Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24      Page 29 of 45




Beaver Lake Lease was not disclosed as part of Everest’s bundle of leases identified in its

Motion to Dismiss at ECF No. 20.

        138.   Sections 1.8 and 1.14 of the Beaver Lake Lease set forth the confidential rent

and fees amount Vertical Bridge will pay to the Landlord for use of the Landlord’s property

located in Beaver Lake, Texas (Site No. TX-5779), which amount was developed by Vertical

Bridge’s predecessor, as described herein at ¶ 108, and which amount is consistent with

Vertical Bridge’s proprietary pricing strategy, described at ¶¶ 52, 57–59. See Ex. G at §§ 1.8;

1.14.

        139.   The Beaver Lake Lease allows the Landlord and Vertical Bridge to publicly

record only a short-form MOL, rather than the Lease itself. See Ex. G at § 24.8. The MOL

does not include the Vertical Bridge Trade Secret Information.

        140.   Using the Vertical Bridge Trade Secret Information contained in the Lease,

Everest crafted an offer to Vertical Bridge’s Landlord to purchase an interest on the site,

which is reflected in Exhibit A.

        141.   As is evident from Everest’s offer letter to the Landlord regarding the Beaver

Lake Lease, Everest relied on and incorporated Vertical Bridge Trade Secret Information in

crafting its offer to the Landlord. Compare Ex. G at § 1.8, with Ex. A at § 2.

        142.   Everest’s offer includes identical financial information as that contained in the

Beaver Lake Lease, see Ex. G at § 1.8.

        143.   The pricing information contained in Everest’s offer could not have been

known without misappropriation of Vertical Bridge Trade Secret Information.

        144.   Ultimately, the Landlord did not accept Everest’s offer to purchase an interest

at the site.




                                               29
   Case 2:23-cv-01017-WSH            Document 48         Filed 06/06/24      Page 30 of 45




                             ii.     Custar Lease

        145.    Exhibit H is an example of a Vertical Bridge Lease that Everest induced

Vertical Bridge’s Landlord to disclose, which also includes Vertical Bridge Trade Secret

Information that Vertical Bridge acquired from its predecessor (hereinafter, the “Custar

Lease”). The Custar Lease was not disclosed as part of Everest’s bundle of leases identified

in its Motion to Dismiss at ECF No. 20.

        146.    Sections 1 and 4 of the Custar Lease set forth the confidential rent and fees

amount that Vertical Bridge will pay to the Landlord for use of the Landlord’s property

located in Custar, Ohio (Site No. OH-5354), which amount was developed by Vertical

Bridge’s predecessor, as described herein at ¶ 108, and which amount is consistent with

Vertical Bridge’s proprietary pricing strategy, described at ¶¶ 52, 57–59. See Ex. H at §§ 1; 4.

        147.    Section 4 of the Custar Lease sets forth a confidential rent escalator, i.e., the

percentage that rent will increase and the timing of such increase. See Ex. H at § 4.

        148.    The Custar Lease provides that the Landlord and Vertical Bridge may publicly

record only a short-form MOL, rather than the Lease itself. See Ex. H at § 24(b). The MOL

does not include the confidential, proprietary ground-lease information.

        149.    Using the secret pricing information contained in the Lease, Everest crafted an

offer to Vertical Bridge’s Landlord to purchase an interest on the site, which is attached hereto

as Exhibit I.

        150.    As is evident from Everest’s offer letter to the Landlord regarding the Custar

Lease, Everest relied on and incorporated Vertical Bridge’s confidential, proprietary pricing

terms in crafting its offer to the Landlord. Compare Ex. H at § 4, with Ex. I at §§ 1–2.

        151.    Everest’s offer also includes identical pricing information as that contained in




                                                 30
   Case 2:23-cv-01017-WSH             Document 48       Filed 06/06/24     Page 31 of 45




the Custar Lease, see Ex. I at § 1.

        152.   The financial information contained in Everest’s offer could not have been

known without misappropriation of Vertical Bridge’s confidential, proprietary information.

        153.   Ultimately, the Landlord did not accept Everest’s offer to purchase an interest

at the site.

    F. Vertical Bridge and Everest’s Course of Dealings Following Knowledge of

        Everest’s Misconduct

        154.   On January 25, 2022, Vertical Bridge’s outside counsel sent Everest a letter

 warning Everest that Vertical Bridge suspected Everest was potentially engaging in unlawful

 conduct with respect to Landlords including, among others, tortiously interfering with such

 Leases. The parties subsequently held a telephone conference to discuss Vertical Bridge’s

 concerns. Vertical Bridge indicated that it was still investigating Everest’s conduct, and

 warned Everest against any illegal conduct, even as Vertical Bridge affirmed that the parties

 had had some cordial business dealings, and that Vertical Bridge did not consider Everest’s

 practices to be illegal or inappropriate in every individual instance.

        155.   Over the course of the next year and a half, Vertical Bridge continued to

 investigate Everest’s practices to the best of its ability. The parties did have some non-

 problematic business dealings – or business dealings that appeared to Vertical Bridge at the

 time to be non-problematic – as Vertical Bridge continued to investigate.

        156.   During the course of investigation, Vertical Bridge executed certain rights of

 first refusal for some of its Tower sites, as investigation was still ongoing. However, once

 additional facts were uncovered and Everest continued to improperly contact Vertical

 Bridge’s Landlords, it became apparent that Everest was misappropriating Vertical Bridge




                                                31
  Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24       Page 32 of 45




Trade Secret Information, and was in fact engaging in illegal and inappropriate

conduct. When Everest refused to cease its unlawful conduct, Vertical Bridge had no choice

but to file this lawsuit.

       157.    Everest’s scheme has resulted, and continues to result, in injury to Vertical

Bridge, including but not limited to loss of market share, loss of value in Vertical Bridge

Trade Secret Information, reputational damage with Landlords and telecom tenants, and

increased operational costs.

       158.    Upon information and belief, Everest has approached dozens (if not hundreds)

of Vertical Bridge’s Landlords, whose Ground Leases encompass all four types described

above, and has attempted to induce all of these Landlords to improperly disclose to Everest

the financial information (site-specific rent, escalator amounts and timing, and any revenue

share) in those Leases.

       159.    As of this filing date, Vertical Bridge is aware of at least 16 Leases where

Everest has succeeded in obtaining Vertical Bridge Trade Secret Information.

                             COUNT I
        FEDERAL DEFEND TRADE SECRETS ACT (18 U.S.C. § 1836 et seq.)

       160.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.

       161.    Vertical Bridge uses its Vertical Bridge Trade Secret Information to enter into

and acquire Leases with Landlords for Towers across the country, which facilitates cellular

communications as well as regional and national broadcasting; thus, this information is

related to services used in, or intended for use in, interstate commerce.

       162.    Vertical Bridge’s Trade Secret Information with respect to its Leases’ site-

specific rent amounts, its escalators, including the amount and timing of the same, and its



                                               32
  Case 2:23-cv-01017-WSH             Document 48      Filed 06/06/24      Page 33 of 45




revenue share amounts is entitled to trade secret protection under the DTSA, which allows an

owner of trade secrets to recover damages for the misappropriation of its trade secrets.

      163.     Vertical Bridge has invested and continues to invest substantial time,

resources, and expense into developing its rent, escalator, and revenue share information for

Leases in order to maintain its competitive place in the market.

      164.     Based upon industry practice and conversations with industry participants,

Vertical Bridge believes and asserts that its predecessors invested substantial time, resources,

and expenses into developing the rent, escalator, and revenue share information in the

predecessor financial information.

      165.     The Vertical Bridge Trade Secret Information confers a competitive advantage

to Vertical Bridge with respect to its competitors in the tower industry. Vertical Bridge’s

financial strategy and terms have allowed it to grow into the fourth largest owner and

operator of telecommunications infrastructure in the United States.

      166.     Vertical Bridge has taken reasonable measures to maintain the secrecy of its

Vertical Bridge Trade Secret Information.

      167.     Vertical Bridge expends substantial time and expense in developing and

deploying its protections to maintain the secrecy of its Vertical Bridge Trade Secret

Information.

      168.     For the reasons alleged herein, Vertical Bridge understands and believes that

the tower industry considers financial information, including rent, escalators, and revenue

share information to be confidential, proprietary trade secret information.

      169.     Vertical Bridge uses its Vertical Bridge Trade Secret Information to contract

with Landlords to obtain access to real property on which to put Towers, and thereafter




                                              33
  Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24       Page 34 of 45




Vertical Bridge derives revenue from subleases on those Towers to its Tenants. As such, the

information has independent economic value to Vertical Bridge.

      170.    The information likewise would have independent economic value for

competitors if they were to obtain this confidential, proprietary trade secret information, as it

would allow competitors to undercut Vertical Bridge by negotiating with Landlords knowing

the precise terms of existing Leases.

      171.    Vertical Bridge’s Trade Secret Information is not generally known to the

public or readily accessible by the public using proper means.

      172.    Vertical Bridge’s Trade Secret Information derives independent value from not

being generally known to the public or readily accessible by the public using proper means.

      173.    Everest knowingly induces the Landlords to provide it with Vertical Bridge’s

Trade Secret Information in breach of the Landlords’ contractual duties to maintain the

secrecy of the financial terms of their Leases.

      174.    Everest knows that the Leases contain Vertical Bridge’s Trade Secret

Information and that the Landlords have a duty to maintain the secrecy of that information

because Everest has seen copies of Leases that expressly contain confidentiality provisions,

and because rent terms, escalators, and revenue share information is regularly viewed as

confidential information within the tower industry. Everest itself treats its financial terms as

confidential in its offer letters and includes confidentiality provisions relating to the same.

See Exs. A–B, I.

      175.    Vertical Bridge has never consented to or authorized any Landlords to disclose

any Vertical Bridge Trade Secret Information to Everest. Nor has Vertical Bridge consented




                                               34
  Case 2:23-cv-01017-WSH            Document 48       Filed 06/06/24      Page 35 of 45




to or authorized Everest to use the improperly obtained Vertical Bridge Trade Secret

Information.

      176.     Everest willfully and maliciously misappropriates Vertical Bridge’s Trade

Secret Information by acquiring and using the information to directly and wrongfully

compete with Vertical Bridge.

      177.     For instance, Everest uses Vertical Bridge’s Trade Secret Information to

undercut Vertical Bridge in negotiations with Landlords, soliciting Landlords to contract with

Everest in furtherance of Everest’s unlawful business practices.

      178.     As alleged above, Everest uses Vertical Bridge’s Trade Secret Information that

it unlawfully solicits from Landlords, and therefore misappropriates Vertical Bridge’s trade

secrets in violation of the DTSA.

      179.     Everest’s misappropriation of Vertical Bridge’s Trade Secret Information has

caused Vertical Bridge harm by depreciating the independent economic value of Vertical

Bridge’s trade secret-protected information attributable to the secrecy of such information.

      180.     As a direct and proximate result of Everest’s improper conduct, Vertical

Bridge has sustained damages and losses in an amount to be determined at trial.

      181.     Vertical Bridge is entitled to damages pursuant to the DTSA, including its

costs, attorneys’ fees, and exemplary damages.

      182.     Everest’s acquisition and use of Vertical Bridge’s trade secret-protected,

valuable financial information has caused and will continue to cause Vertical Bridge

irreparable harm. Unless permanently enjoined, Everest’s misappropriation, as alleged

herein, will continue to cause Vertical Bridge irreparable harm, loss, and injury.




                                              35
  Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24      Page 36 of 45




                          COUNT II
 PENNSYLVANIA UNIFORM TRADE SECRETS ACT (12 Pa. C.S.A. § 5301 et seq.)

       183.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.

       184.    Vertical Bridge’s Trade Secret Information with respect to its Leases’ site-

specific rent amounts, its escalators, including the amount and timing of the same, and its

revenue share amounts is entitled to trade secret protection under the PUTSA, which allows

an owner of trade secrets to recover damages for the misappropriation of its trade secrets.

       185.    Vertical Bridge has invested and continues to invest substantial time,

resources, and expense into developing its rent, escalator, and revenue share information for

Leases in order to maintain its competitive place in the market.

       186.    Based upon industry practice and conversations with industry participants,

Vertical Bridge believes and asserts that its predecessors invested substantial time, resources,

and expenses into developing the rent, escalator, and revenue share information in the

financial information.

       187.    The Vertical Bridge Trade Secret Information confers a competitive advantage

to Vertical Bridge with respect to its competitors in the tower industry. Vertical Bridge’s

pricing strategy and terms have allowed it to grow into the fourth largest owner and operator

of telecommunications infrastructure in the United States.

       188.    Vertical Bridge has taken reasonable measures to maintain the secrecy of its

confidential, proprietary financial information.

       189.    Vertical Bridge expends substantial time and expense in developing and

deploying its protections to maintain the secrecy of its Trade Secret Information.




                                              36
  Case 2:23-cv-01017-WSH            Document 48       Filed 06/06/24      Page 37 of 45




      190.    For the reasons alleged herein, Vertical Bridge understands and believes that

the tower industry considers financial information, including rent, escalators, and revenue

share information to be confidential, proprietary trade secret information.

      191.    Vertical Bridge uses its Vertical Bridge Trade Secret Information to contract

with Landlords to obtain access to real property on which to put Towers, and thereafter

Vertical Bridge derives revenue from subleases on those Towers to its Tenants. As such, the

information has independent economic value to Vertical Bridge.

      192.    The information likewise would have independent economic value for

competitors if they were to obtain this Vertical Bridge Trade Secret Information, as it would

allow competitors to undercut Vertical Bridge by negotiating with Landlords knowing the

precise terms of existing Leases.

      193.    Vertical Bridge’s Trade Secret Information is not generally known to the

public or readily accessible by the public using proper means.

      194.    Vertical Bridge’s Trade Secret Information derives independent value from not

being generally known to the public or readily accessible by the public using proper means.

      195.    Everest knowingly induces the Landlords to provide it with Vertical Bridge’s

Trade Secret Information in breach of the Landlords’ contractual duty to maintain the secrecy

of the pricing terms of their Leases.

      196.    Everest knows that the Leases contain confidential, proprietary financial

information and that the Landlords have a duty to maintain the secrecy of that information

because Everest has seen copies of Leases that expressly contain confidentiality provisions,

and because rent terms, escalators, and revenue share information is regularly viewed as

confidential information within the tower industry. Everest itself treats its pricing terms and




                                              37
  Case 2:23-cv-01017-WSH             Document 48        Filed 06/06/24      Page 38 of 45




as confidential in its offer letters and includes confidentiality provisions relating to the same.

See Exs. A–B, I.

      197.    Vertical Bridge has never consented to or authorized any Landlords to disclose

any Vertical Bridge Trade Secret Information information to Everest. Nor has Vertical

Bridge consented to or authorized Everest to use the improperly obtained Vertical Bridge

Trade Secret Information.

      198.    Everest willfully and maliciously misappropriates Vertical Bridge’s Trade

Secret Information by acquiring and using the information to directly and wrongfully

compete with Vertical Bridge.

      199.    For instance, Everest uses Vertical Bridge's Trade Secret Information to

undercut Vertical Bridge in negotiations with Landlords, soliciting Landlords to contract with

Everest in furtherance of Everest’s unlawful business practices.

      200.    As alleged above, Everest uses Vertical Bridge’s Trade Secret Information that

it unlawfully solicits from Landlords, and therefore misappropriates Vertical Bridge’s trade

secrets in violation of the PUTSA.

      201.    Everest’s misappropriation of Vertical Bridge’s Trade Secret Information has

caused Vertical Bridge harm by depreciating the independent economic value of Vertical

Bridge’s trade secret-protected information attributable to the secrecy of such information.

      202.    As a direct and proximate result of Everest’s improper conduct, Vertical

Bridge has sustained damages and losses in an amount to be determined at trial.

      203.    Vertical Bridge is entitled to damages pursuant to the PUTSA, including its

costs, attorneys’ fees, and exemplary damages.




                                               38
  Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24      Page 39 of 45




      204.    Everest’s acquisition and use of Vertical Bridge’s trade secret-protected,

valuable financial information has caused and will continue to cause Vertical Bridge

irreparable harm. Unless permanently enjoined, Everest’s misappropriation, as alleged

herein, will continue to cause Vertical Bridge irreparable harm, loss, and injury.

                                      COUNT III
                                 UNJUST ENRICHMENT

      205.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.

      206.    Vertical Bridge has involuntarily conferred a benefit upon Everest of which

Everest has knowledge.

      207.    Specifically, Everest has acquired multiple Leases that contain confidential,

proprietary financial information regarding Vertical Bridge’s rent, escalators, and revenue

share Lease terms.

      208.    Everest appreciated the benefit of Vertical Bridge’s confidential, proprietary

financial information by using that information to negotiate with Vertical Bridge’s

Landlords under more favorable terms and thereby obtain a competitive advantage against

Vertical Bridge.

      209.    Everest has retained, and continues to retain, the benefit conferred upon it

without providing any compensation to Vertical Bridge for the benefit.

      210.    The circumstances are such that it would be inequitable for Everest to retain

the benefit of the use of Vertical Bridge’s confidential, proprietary financial information.

                          COUNT IV
 TORTIOUS INTERFERENCE WITH EXISTING CONTRACTUAL RELATIONS

      211.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.


                                              39
 Case 2:23-cv-01017-WSH            Document 48         Filed 06/06/24    Page 40 of 45




      212.    Vertical Bridge has valid and enforceable contractual relationships with

various Landlords, which are memorialized in Leases.

      213.    Everest specifically targets Leases for interference.

      214.    Many of the Leases Everest targets include confidentiality provisions, which

prevent the Landlord from disclosing Vertical Bridge’s confidential, proprietary financial

information to third parties.

      215.    Everest intentionally interferes with the contractual relationships between

Vertical Bridge and its Landlords when Everest induces the Landlords to disclose Vertical

Bridge’s confidential, proprietary financial information, in violation of the Landlords’

confidentiality obligations to Vertical Bridge.

      216.    Everest’s interference violates the DTSA, PUTSA, and each Lease’s

confidentiality provisions.

      217.    Everest intentionally interferes with the contractual relationships between

Vertical Bridge and its Landlords with the intent of harming Vertical Bridge.

      218.    In so interfering, Everest has acted and continues to act without any privilege

or justification.

      219.    Everest acted and continues to act wrongfully in intentionally interfering with

Vertical Bridge’s contractual relationships with its Landlords.

      220.    Everest’s intentional interference has caused Vertical Bridge’s Landlords to

breach the confidentiality provisions in the Leases.

      221.    As a direct and proximate cause of Everest’s improper conduct, Vertical

Bridge has sustained damages and losses in an amount to be determined at trial.




                                              40
 Case 2:23-cv-01017-WSH            Document 48        Filed 06/06/24        Page 41 of 45




                           COUNT V
     TORTIOUS INTERFERENCE WITH PROSPECTIVE CONTRACTUAL
                         RELATIONS

      222.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.

      223.    Vertical Bridge has a long history of renewing its Leases with Landlords upon

expiration of the final term. Indeed, this is standard industry practice.

      224.    Everest has knowledge of the existence of the Leases, the terms therein, and

the business relationship between Vertical Bridge and its Landlords.

      225.    Many of the Leases Everest targets include confidentiality provisions, which

prevent the Landlord from disclosing Vertical Bridge’s confidential, proprietary financial

information to third parties.

      226.    Everest is aware that there is a reasonable likelihood that Vertical Bridge will

attempt to renew its contractual relationships with various Landlords.

      227.    Based on Vertical Bridge’s history with Landlords, which reflects that

Landlords routinely renew their Leases, there is a reasonable likelihood that Landlords

would renew their Leases but for Everest’s interference.

      228.    Everest knew of the confidential nature of rent, escalator, and revenue share

terms within Leases, yet requested such confidential, proprietary financial information from

Vertical Bridge’s Landlords to structure offers to the Landlords in order to obtain an interest

in the property where Vertical Bridge’s Towers sit.

      229.    Everest knew that acquiring the Leases through Vertical Bridge’s Landlords

would result in the Landlords breaching the confidentiality provisions within the Leases.

      230.    Everest’s interference violates the DTSA, PUTSA, and each Lease’s

confidentiality provisions.


                                              41
 Case 2:23-cv-01017-WSH            Document 48         Filed 06/06/24      Page 42 of 45




      231.    Everest intentionally interferes with Vertical Bridge’s prospective contractual

relationships by using the wrongfully obtained confidential, proprietary financial

information to negotiate with Vertical Bridge’s Landlords under more favorable terms and

thereby obtain a competitive advantage against Vertical Bridge.

      232.    Everest has demonstrated its desire and intent to prevent the Landlords from

renewing or extending the Leases, and either knew or should have known that interference

with Vertical Bridge and its Landlords’ prospective contractual relations was substantially

likely to occur as a result of Everest’s tortious conduct.

      233.    Everest intentionally interferes with the prospective contractual relationships

between Vertical Bridge and its Landlords with the intent of harming Vertical Bridge.

      234.    Everest is not privileged or justified in its interference with Vertical Bridge’s

prospective contractual relationships.

      235.    As a direct and proximate cause of Everest’s improper conduct, Vertical

Bridge has sustained damages and losses in an amount to be determined at trial.

                                     COUNT VI
                                UNFAIR COMPETITION

      236.    Vertical Bridge repeats and re-alleges each and every paragraph above as if

fully set forth herein.

      237.    As set forth herein, Everest engages in unfair and/or deceptive business

practices.

      238.    Vertical Bridge has the right to be free from unfair competition caused by

Everest’s unfair and/or deceptive business practices and wrongful use of Vertical Bridge’s

confidential, proprietary financial information.




                                              42
   Case 2:23-cv-01017-WSH           Document 48         Filed 06/06/24      Page 43 of 45




       239.    Vertical Bridge has the right to be free from unfair competition caused by

 Everest’s interference with Vertical Bridge’s existing and prospective contractual relations.

       240.    Upon information and belief, Everest uses and intends to continue to use

 Vertical Bridge’s confidential, proprietary financial information in order to gain an unfair

 competitive advantage over Vertical Bridge.

       241.    Upon information and belief, Everest uses and intends to continue to use

 Vertical Bridge’s confidential, proprietary financial information to interfere with existing

 and prospective Leases.

       242.    Everest has benefitted by, or will benefit by reason of, and as a direct result of,

 its unfair competitive acts.

       243.    Everest’s unfair competitive acts are willful, wanton, and malicious.

       244.    Because of Everest’s unfair competitive acts, Vertical Bridge has suffered

 actual damages, and will likely suffer loss of its expectancy interests with Landlords

 induced by Everest’s unfair competitive acts.

                                   RELIEF REQUESTED

       WHEREFORE, Plaintiff respectfully requests that this Court issue a judgment in its

favor and enter an order:

               (i)     Directing Everest to provide an accounting of all sums earned by
                       Everest from its unlawful actions described in the Complaint;

               (ii)    Permanently enjoining Everest from engaging in unfair competition
                       with Vertical Bridge, misappropriating Vertical Bridge’s confidential
                       information and trade secret-protected information, and tortiously
                       interfering with Vertical Bridge’s existing and prospective contractual
                       relationships with Landlords;

               (iii)   Awarding to Vertical Bridge any and all monetary damages sustained
                       as a result of Everest’s unlawful actions described in the Complaint,
                       including actual, consequential, special, exemplary, treble, and punitive



                                               43
  Case 2:23-cv-01017-WSH           Document 48        Filed 06/06/24     Page 44 of 45




                      damages, lost profits, loss of business expectancy, and disgorgement of
                      Everest’s profits;

              (iv)    Awarding to Vertical Bridge the cost of the suit, including attorneys’
                      fees, as well as pre- and post-judgment interest; and

              (v)     Such other relief as the Court deems to be fair and appropriate.



Dated: June 6, 2024                                     /s/ Kelsi E. Robinson__________
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                                                        NTCF, LLC; Vertical Bridge
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                                                        Run, LLC; CIG Comp Tower, LLC;
                                                        VB BTS, LLC; Vertical Bridge 500,
                                                        LLC; Midwest NT 1, LLC; Midwest
                                                        NT 2, LLC; Vertical Bridge VBTS,
                                                        LLC; VB BTS II, LLC; Vertical
                                                        Bridge S3 Assets, LLC; VB-S1 Assets,



                                              44
Case 2:23-cv-01017-WSH   Document 48   Filed 06/06/24   Page 45 of 45




                                         LLC; The Towers, LLC; Vertical
                                         Bridge CC FM, LLC; Vertical Bridge
                                         CCR, LLC; VB Nimbus, LLC;
                                         Vertical Bridge CC AM, LLC; Vogue
                                         XIII, LLC; Vertical Bridge Real
                                         Estate, LLC; Precision Cell Assets,
                                         LLC; Toro Vertical, LLC; Bridger
                                         Cell Assets, LLC; VBHV, LLC;
                                         Datapath Vertical Bridge II, LLC;
                                         NTCH-VB, LLC; Vertical Bridge
                                         Towers IV, LLC; and VBT SUB 2,
                                         LLC




                                45
